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               IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF PENNSYLVANIA


DONALD J. TRUMP FOR                    :
PRESIDENT, INC., et al.,               : No. 2:20-CV-00966-NR
                                       :
                    Plaintiffs         :
                                       : Judge J. Nicholas Ranjan
      v.                               :
                                       :
KATHY BOOCKVAR, et al.,                : Electronically Filed Document
                                       :
                    Defendants         :

                  MOTION FOR ADMISSION PRO HAC VICE
                       OF MICHÉLLE POKRIFKA

      I, Michélle Pokrifka, Esquire, hereby moves that she be admitted to appear

and practice in this Court as counsel pro hac vice for Defendant York County Board

of Elections in the above-captioned matter pursuant to LCvR 83.2, LCvR 83.3 and

this Court’s Standing Order Regarding Pro Hac Vice Admissions dated May 31,

2006 (Misc. No. 06-151).

      1.      Pursuant to the requirements set forth in LCvR 83.2, please find

attached in support of this motion the Affidavit for Admission Pro Hac Vice of

Michélle Pokrifka. See Attachment – 1.

      2.      Also attached please find the declaration of Michélle Pokrifka

certifying that the undersigned is both a registered ECF user and that she is familiar

with the Local Rule of Court. See Attachment – 2.
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      WHEREFORE, it is respectfully submitted that Solicitor Michélle Pokrifka

be admitted to practice in the United States District Court for the Western District

of Pennsylvania pro hac vice, for the purposes of the above-captioned case on behalf

of the York County Board of Elections.


                                      Respectfully submitted,

Date: July 9, 2020                    s/ Michélle Pokrifka
                                      Michélle Pokrifka, Esquire
                                      Attorney ID 66654
                                      28 East Market Street
                                      York, PA 17401
                                      Phone: (717) 771-4777
                                      Email: mpokrifka@yorkcountypa.gov
                                      Counsel for Defendant York County Board of
                                      Elections
           Case 2:20-cv-00966-NR Document 28 Filed 07/09/20 Page 3 of 3




               IN THE UNITED STATES DISTRICT COURT
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                                         :
                     Plaintiffs          :
                                         : Judge J. Nicholas Ranjan
      v.                                 :
                                         :
KATHY BOOCKVAR, et al.,                  : Electronically Filed Document
                                         :
                     Defendants          :

                           CERTIFICATE OF SERVICE

      I, Michélle Pokrifka, Solicitor for the County of York, Pennsylvania, do
hereby certify that I caused the foregoing Motion for Admission Pro Hac Vice of
Michélle Pokrifka to be filed with the United States District Court for the Western
District of Pennsylvania via the Court’s CM/ECF system, which will provide
electronic notice to all and parties of record.

                                         Respectfully submitted,

Date: July 9, 2020                       s/ Michélle Pokrifka
                                         Michélle Pokrifka, Esquire
